Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page1of27 Page ID #:333

EXHIBIT TT
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08

Geraldine A. Wyle (SBN 89735)
Jeryll S. Cohen (SBN 125392)
Jeffrey D. Wexler (SBN 132256)
Vivian Lee Thoreen (SBN 224162)

LUCE FORWARD HAMILTON & SCRIPPS LLP

601 South Figueroa, Suite 3900
Los Angeles, California 90017
Telephone: (213) 892-4992
Facsimile: (213) 892-7731

Attorneys for Temporary Conservator
of the Person and Temporary Co-Conservator
of the Estate James P. Spears

Page 2 of 27 Page ID #:334

ORIGINAL FILED

FEB 97 2ooy”

LOS ANGELES
SUPERIOR COURT

SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Temporary Conservatorship of the
Person and the Estate of:

BRITNEY JEAN SPEARS,

Temporary Conservatee.

CASE NO. BP 108870

DECLARATION OF JEFFREY D.
WEXLER IN SUPPORT OF EX PARTE
APPLICATION FOR ORDER: (1)
GRANTING POWER TO FIRE HOWARD
GROSSMAN; (2) REQUIRING HOWARD
GROSSMAN TO TURN OVER ALL
DOCUMENTS AND RECORDS
RELATING TO BRITNEY SPEARS; AND
(3) TO TURN OVER ALL ASSETS
RELATING TO BRITNEY SPEARS

Date: February 7, 2008

Time: 1:30 p.m

Department: 9

Judge: Hon. Reva Goetz, Judge Pro Tem

WEXLER DECL. IN SUPP. OF APP. FOR ORDER RFE HOWARN GRAGeATANT

Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 3of27 Page ID #:335

DECLARATION OF JEFFREY D. WEXLER

I, Jeffrey D. Wexler, declare:

1. I am an attorney licensed to practice law in the State of California and ama
partner at the law firm of Luce, Forward, Hamilton & Scripps LLP (“Luce Forward”), counsel of
record for James P. Spears (““Mr. Spears”), the father of Britney Jean Spears (“Britney”) and
temporary conservator of the person and temporary co-conservator of the estate of Britney Jean
Spears. Except as otherwise stated, the statements contained herein are based on my personal
knowledge and experience. If called as a witness, I could and would testify competently to those
facts.

2. On Tuesday, February 5, 2008 at about 5:00 p.m., I had a telephone conversation
with Howard Grossman, whom I understand to be Britney’s business manager, in which he told
me that two cars owned by Britney were ready to be picked up at the repair shop at Mercedes-
Benz of Beverly Hills. Later that afternoon, I spoke with Cameron of Mercedes-Benz of Beverly
Hills, who told me that I should have Mr. Grossman let him know who would be picking up the
two cars.

3. On Wednesday, F ebruary 6, 2008, the Court filed the Letters of Temporary
Conservatorship of the Person, the Order Extending Temporary Letters of Conservatorship of the
Person, the Letters of Temporary Conservatorship of the Estate, and the Order Extending
Temporary Letters of Conservatorship of the Estate (collectively, the “Letters and Orders”). At
12:23 p.m. on February 6, 2008, soon after my office received conformed copies of the Letters
and Orders from the Court, I e-mailed copies of the Letters and Orders to Mr. Grossman.
Attached hereto as Exhibit A is a true and correct copy of my e-mail to Mr. Grossman of 12:23
p.m. on February 6, 2008 with the attachments thereto.

4. Attached hereto as Exhibit B is a true and correct copy of an e-mail that I sent to
Mr. Grossman at 1:09 p.m. on February 6, 2008 asking him to let Mercedes-Benz of Beverly
Hills know that Mr. Spears would be sending someone on February 6, 2008 or February 7, 2008
to pick up Britney’s two cars that were waiting at the repair shop for pick-up.

5. Attached hereto as Exhibit C is a true and correct copy of an e-mail from Mr.

Grossman that I received at 1:38 p.m. on F ebruary 6, 2008 in which he asked his assistant, Kate
2

WEXLER DECL. IN SUPP. OF APP. FOR ORDER RE HOWARD GROSSMAN

Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 4of27 Page ID #:336

Erbland, to authorize Mercedes-Benz of Beverly Hills to allow Mr. Spears’ representative to pick
up Britney’s two cars.

6. Attached hereto as Exhibit D is a true and correct copy of an e-mail from Ms.
Erbland that I received at 1:48 p.m. on F ebruary 6, 2008 in which Ms. Erbland confirmed that
she had authorized Mercedes-Benz of Beverly Hills to allow Mr. Spears’ representative to pick
up Britney’s two cars.

Executed on February 7, 2008 at Los Angeles, California.

I declare under penalty of perjury of the laws of the State of California that the foregoing

(Med

REY D. WEXLER

is true and correct.

3

WEXLER DECL. IN SUPP. OF APP. FOR ORDER RE HOWARD GROSSMAN
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page5of27 Page ID #:337

EXHIBIT A
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 6of27 Page ID #:338

Wexler, Jeffrey

From: Wexler, eftrey

Sent: Wednesday, February 06, 2008 12:23 PM

To: ‘Howard Grossman’

Ce: Wyle, Geraldine; Cohen, Jeryll; Thoreen, Vivian

Subject: Letters and Orders filed today

Attachments: Letters of Temporary Conservatorship for the Person.pdf; Order Appointing Temporary

Conservator for the Person.pdf; Letters of Temporary Conservatorship for the Estate.pdf;
Order Appointing Temporary Conservator for the Estate.pdf

ca aoa 1 to te
dobe d Adobe, kd

Letters of Order Appointing Letters of Order Appointing
mporary Conservat. Temporary Con... mporary Conservat. Temporary Con...

are attached.

Jeff
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 7 of27 Page ID #:339

GC-150

ATTORNEY OR PARTY WITHOUT ATTORNEY (Nama, stu be, end address):
Aftet recording retum to:

Geraldine A. Wyle, SBN 89735
YJeryll S. Cohen, SBN 125392
Vivian L. Thoreen, SBN 224162
Luce, Forward, Hamilton & Scripps LLP
601 S. Figueroa St., Suite 3900, Los Angeles, CA 90017
TELEPHONE NO. (213) 892-4992
FAX NO. (Option): (213) 892-7731
“MAIL ADDRESS /Optionag:
ATTORNEY FOR (Namey: James P. Spears
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
STREET aporess: 171 North Hill Street
MAILING aDOREsS: 111 North Hill Street
CITy AND zip cove: Los Angeles, California 90012

BRANCH Name: Central
TEMPORARY |_] GUARDIANSHIP DX] CONSERVATORSHIP FOR RECORDER'S USE OWLY
CASE NUMBER:

OF (Name): Britney Jean Spears
C]_ Minor [X) conservaTEe Be (083 tO

LETTERS OF TEMPORARY [] GUARDIANSHIP & CONSERVATORSHIP
i Person C) Estate FOR COURT USE ONLY
LETTERS

1. (Name): James P. Spears

is appointed temporary [[] guardian [conservator of the &) person ae.
estate of (name): Britney Jean Spears LOS ANGELES SUPERIOR COURT

2.) Other powers have been granted or restrictions imposed on the temporary FEB 0 6 2008
guardian [X] conservator as [(] specified below
specified in Attachment 2. = A. ake. CLERK
Titre, AD Cae amy

BY S.L. WILLIAMS, DEPUTY

3. These Letters shall expire
a.) on (date): or upon earlier issuance of Letters to a general

guardian or conservator.
b. EJ other date (specify): February 14, 2008

4. KX] The temporary [[] guardian [XJ conservator is not authorized to take possession of money or any other property
vbrowba, specific court order. ,

Ut, with seal of the court affixed.

eae Date: FEB 0 6 2008
é
F, Clerk, by
i wo
Nd
AFFIRMATION

! solemnly affirm that | will perform the duties of temporary Cc guardian [X] conservator according to law.

Executed on (date): February 4, 2008
at (place): Los Angeles , California. (SEAL) WITNESS, clerk of the court, with
coe seal of the court affixed.

s P. Spears me a Ue Dates sy

(SIGNATURE OF APPOINIE === rie 2, 4 Clerk, by

CERTIFICATION |
(DEPUTY)

| certify that this document and any attachments is a correct copy of
the original on file in my office, and that the Letters issued to the ols .
person appointed above have not been revoked, annulled, or set ee

aside and are still in full force and effect.
Form Approved for Mendatory Use LETTERS OF TEMPORARY Probete Code, § 2250 #t seq;
Hudicial Councl of California GUARDIANSHIP OR CONSERVATORSHIP ‘Code of Civil Procedure, $2015

GC-150 (Rev. January 1, 2003] 2003 © American LegaiNet, ine.

Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 8of27 Page ID #:340

Letters of

Temporary Conservator
of the Person

Britney Jean Spears
Attachment 2

The Temporary Conservator of the Person is granted the following powers in addition to
the powers provided by law:

a. The Temporary Conservator shall have the power to restrict and limit visitors
by any means, provided that the Temporary Conservator shall not prevent the
Conservatee from meeting with her court-appointed attorney, Mr. Ingham,
except to approve the location for any meetings or visits in advance of any
such meetings or visits, and to arrange for appropriate security, in order to
protect the Conservatee. Any and all meetings between the Conservatee and
any attorneys who are not Mr. Ingham are subject to the Temporary
Conservator’s approval, including the location for the meeting. The
Temporary Conservator shall also have the power to be present with his
attorneys at any such meetings and to ensure that there is adequate security.

b. The Temporary Conservator shall have the power to retain caretakers for the
Conservatee on a 24 hour/7 day basis. The power to retain security guards for
the Conservatee on a 24 hour/7 day basis.

c. The Temporary Conservator shall have the power to prosecute civil
harassment restraining orders that the Temporary Conservator deems
appropriate.

d. The Temporary Conservator shall have access to any and all medical records

and to communications with treating and other expert medical personnel.
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page9of27 Page ID #:341

Geraldine A. Wyle, State Bar No. 089735

Jeryll S. Cohen, State Bar No. 125392

Jeffrey D. Wexler, State Bar No. 132256

Vivian L. Thoreen, State Bar No. 224162

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Los Angeles, California 90017

Telephone No.: 213.892.4992

Fax No.: 213.892.7731

Attorneys for James P. Spears,
Temporary Conservator of the Person and
Temporary Co-Conservator of the Estate

“

LOS ANGELES S| IPERIOR COURT

FEB 06 2008

JOHN A. CLARKE, CLERK
Biren WF bali. Chay
BY S.L. WILLIAMS, DEPUTy

SUPERIOR COURT OF THE STATE OF CALIFORNIA

FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Person of Case No. BP 108870

BRITNEY JEAN SPEARS, ORDER EXTENDING TEMPORARY

Proposed Conservatee.

Dept.:

Judge:

LETTERS OF CONSERVATORSHIP OF
THE PERSON

February 4, 2008

1:30 p.m.

9

Hon. Reva Goetz, Judge Pro Tem

The further hearing on the Petition for Appointment of Temporary Conservator of the

Person of Britney Jean Spears (“Ms. Spears”), filed by James P. Spears, came on regularly for

hearing on February 4, 2008 at 1:30 p.m. in Department 9 of the Los Angeles Superior Court,

Central District, the Honorable Reva Goetz, Judge Pro Tem presiding. Jeryll S. Cohen, Vivian L.

Thoreen, and Jeffrey D. Wexler of Luce, Forward, Hamilton & Scripps LLP appeared on behalf of

Petitioner James P. Spears (“Mr. Spears”), Temporary Conservator of the Person and Co-

Conservator of the Estate of Ms. Spears. Samuel D. Ingham III appeared as the court-appointed

PVP counsel on behalf of Ms. Spears. Andrew M. Wallet of Hinojosa & Wallet appeared on

1

ORDER EXTENDING TEMPORARY LETTERS OF CONSERVATORSHIP OF THE PERSON

Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 10 of 27 Page ID #:342

behalf of Andrew M. Wallet as the Temporary Co-Conservator of the Estate of Ms. Spears. Adam

F. Streisand of Loeb & Loeb LLP appeared purportedly on behalf of Ms. Spears. From proof

made to the satisfaction of the court,

THE COURT FINDS AS FOLLOWS:

1. Notice of time and place of hearing has been given as required by law or dispensed
with.

2. On February 1, 2008, the Court appointed Mr. Spears as Temporary Conservator of
Ms. Spears’ Person, and Letters of Temporary Conservatorship of the Person were issued to Mr.

Spears on the same day.

3. On February 1, 2008, the Court appointed PVP counsel Samuel D. Ingham III as
the Conservatee’s court-appointed attomey.
4. It is in the best interest of the Conservatee that the Temporary Conservatorship be

continued over the Conservatee’s Person,

5. Mr. Spears is a suitable and qualified person and is authorized to continue as the
Temporary

Conservator of Ms. Spears’ Person.

6. It is necessary and appropriate that the Letters of Temporary Conservatorship of the
Person issued to Mr. Spears on February 1, 2008 be extended to February 14, 2008 for further
hearing.

7, As a result of the pleadings that have been filed, the declaration by J. Edward Spar,
M.D., and the Report of PVP counsel Mr. Ingham, the court finds that Ms. Spears does not have
the capacity to retain counsel and she lacked the capacity to retain Adam F. Streisand as her
counsel.

8. Ms. Spears has a right to be present at this hearing, and she is not present,
According to Dr. Spar’s declaration, Ms. Spears does not have the ability to attend the hearing.
Mr. Ingham indicated in his Report that Ms. Spears was given an opportunity through him to
communicate to the Court, and she has elected not to. On the basis of Dr. Spar’s declaration and

Mr. Ingham’s Report, the Court should waive Ms. Spears’ presence at the hearing.

2

APOCYD CVTTAMnAIM THRANDAD ANDY YT mrTrerpea OP OAKRMOTRA A TAN CTTIN Ar TIT nrnanar

Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 11o0f27 Page ID #:343

9, Mr. Ingham met with Ms. Spears on February 3, 2008.

THE COURT ORDERS AS FOLLOWS:

1. Notice of time and place of hearing has been given as required by law or dispensed

with.
2. Ms. Spears does not have the capacity to retain counsel.
3, Ms. Spears lacked the capacity to retain Adam F. Streisand as her counsel.
4, Ms. Spears’ attendance at the hearing is waived.
5. Letters of Temporary Conservatorship of the Person issued to James P. Spears on

February 1, 2008 are extended to February 14, 2008.

6. The Temporary Conservator of the Person is granted the following powers in
addition to the powers provided by law:

a. The Temporary Conservator shall have the power to restrict and limit visitors
by any means, provided that the Temporary Conservator shall not prevent the
Conservatee from meeting with her court-appointed attorney, Mr. Ingham,
except to approve the location for any meetings or visits in advance of any such
meetings or visits, and to arrange for appropriate security, in order to protect the
Conservatee. Any and all meetings between the Conservatee and any attorneys
who are not Mr. Ingham are subject to the Temporary Conservator’s approval,
including the location for the meeting. The Temporary Conservator shall also
have the power to be present with his attorneys at any such meetings and to
ensure that there is adequate security.

b. The Temporary Conservator shall have the power to retain caretakers for the
Conservatee on a 24 hour/7 day basis. The power to retain secunty guards for
the Conservatee on a 24 hour/7 day basis.

¢. The Temporary Conservator shall have the power to prosecute civil harassment
restraining orders that the Temporary Conservator deems appropriate.

d. The Temporary Conservator shall have access to any and all medical records

3
ORDER EXTENDING TEMPORARY LETTERS OF CONSERVATORSHIP OF THE PERSON

Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 12 o0f27 Page ID #:344

and to communications with treating and other expert medical personnel.

7. Service on Ms. Spears of pleadings that are to be or are sealed shall be served on
PVP counsel Mr. Ingham. Mr. Ingham shall review and discuss such pleadings with the
Conservatee; however, Mr. Ingham shall retain any and all copies of such pleadings and shall not
leave them with the Conservatee, except that Mr. Ingham may leave a copy of the Order
appointing him as the Conservatee’s court-appointed counsel with the Conservatee.

8. The Conservatee shall not have any contact, direct or indirect, with Osama aka Sam
Lutfi, including telephone calls, text messaging, or email communications.

9. The Conservatee is to remain in California pending the hearing on the Petition for
Appointment of Permanent Conservator, the written consent of the Conservator of the Person, or
until February 14, 2008 at 1:30 p.m. or further order of the Court.

10. The next hearing in this matter is set for February 14, 2008 at 1:30 p.m.

APPROVED AS TO FORM AND CONTENT:

2-6-0068

Dated: By:

Samuel D. Ingham III, PY? Counsel for
Temporary ConservateeSritney Jean Spears

Dated: By:

Andrew M. Wallet, Co-Conservator of the
Estate of Britney Jean Spears

IT IS SO ORDERED.

oust: blog Lp BRA

Hon. Reva Goetz, J wie Pr Tem
‘ Superior Court, Statelof California

4
ORDER EXTENDING TEMPORARY LETTERS OF CONSERVATORSHIP OF THE PERSON

Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 13 of 27 Page ID #:345

, . GC-150
ATTORNEY OR PARTY WITHOUT ATTORNEY (Namie, sta ber, and address): @
After recording retum to:
Geraldine A. Wyie, SBN 89735
rJeryll S. Cohen, SBN 125392
Vivian L. Thoreen, SBN 224162
Luce, Forward, Hamilton & Scripps LLP
601 S. Figueroa St., Suite 3900, Los Angeles, CA 90017
TELEPHONE NO. (213) 892-4992
FAX NO. (Optonap: (213) 892-7731
E-MAIL ADDRESS (Cptionay:
ATTORNEY FOR (Name: James P. Spears
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
STREET appress: 111 North Hill Street
MAILING ADDRESS: 111 North Hill Street
city aN zip cove: Los Angeles, California 90012
BRANCH Name: Central

FOR RECORDER'S USE ONLY

TEMPORARY |} GUARDIANSHIP DB CONSERVATORSHIP

OF (Name): Britney Jean Spears CASE NUMBER:

[] minor &] conservaTee BP (O8S40

LETTERS OF TEMPORARY [_] GUARDIANSHIP [x] CONSERVATORSHIP

Person R Estate FOR COURT USE ONLY
LETTERS
1. (Name): James P. Spears and Andrew M. Wallet ~
is appointed temporary [_] guardian [BQ conservator ofthe [) person LOS ANGELES SUPERIOR COURT
estate of (name): Britney Jean Spears
FEB 06 2008
2.) Other powers have been granted or restrictions imposed on the temporary
guardian [x] conservator as [] _ specified below SOHN A. CLARKE, CLERK
specified In Attachment 2. tem DUN ane

BY S.L. WILLIAMS, DEPUTY

3. These Letters shall expire
a.) on (date): or upon earlier issuance of Letters to a general

guardian or conservator.

b. Bk other date (specify): February 14, 2008

4.0] The temporary [] guardian §[[] conservator is not authorized to take possession of money or any other property
without a specific court order.

ah

a
Ree et

a AFFIRMATION
| solemnly affirm that | will perform the duties of temporary ["] guardian [2 conservator according to law.
Executed on (date): February 4, 2008
at (place): Los Angeles , Califomia

P. peas Dre . Wallet
kK Nine, ( Ivara?
/

og ‘| WITNESS, clerk of the court, with
ks ls eal of the court affixed.

Date: £2 06 am

Mma
Fey

{SIGNATURE AF APPO we Clerk, by
CERTIFICATIO _
! certify that this document and any attachments is a correct copy of ~~ ao
the original on file in my office, and that the Letters issued to the cot pes
person appointed above have not been revoked, annulled, or set ee (DePery?
aside and are still in full force and effect. Tee
Form Approved for Mandatory Use LETTERS OF TEMPORARY Probate Code, § 2250 at seq.;

ete Couned of Cattorta GUARDIANSHIP OR CONSERVATORSHIP Case fit rcs, § 0168
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 14 of 27 Page ID #:346

Letters of

Temporary Conservator
of the Estate

Britney Jean Spears
Attachment 2

1. The Temporary Conservators of the Estate are granted the following powers in
addition to the powers provided by law:

a. The Temporary Conservators shall have the power to obtain all documents
and records relating to the Conservatee and her assets, whether held in her
name or in the name of another, including but not limited to, all records
currently in the possession and control of the Conservatee’s business manager,
Howard Grossman, her attorneys, and others, all contracts, information
relating to credit cards, bank statements, estate planning documents,
receivables, and any and all powers of attorney.

b. The Temporary Conservators shall have the power to take all actions
necessary to secure the Conservatee’s assets, including the power to enter and
take possession and control of the Conservatee’s Tesidence, to remove all
persons from the residence and take any and all actions necessary to secure
the residence, including changing the locks, call on law enforcement and
employ security guards at the expense of the Conservatorship Estate.

¢. The Temporary Conservators shall have the power to take all actions
necessary to secure the Conservatee’s liquid assets, including but not limited
to, the power to cancel all credit cards.

d. The Temporary Conservators shall have the power to revoke all powers of
attorneys, including powers of attorney for making health care decisions and
managing real estate, and to terminate any and all agencies.

e. The Temporary Conservators shall have the power to commence and maintain

litigation and participate in any litigation with respect to which the
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 15 of27 Page ID #:347

Letters of
Temporary Conservator
of the Estate
Britney Jean Spears
Attachment 2
Conservatee is a party or has an interest, and the power to retain counsel and
experts, and to pay same from the Conservatorship Estate, not only as to the
family law case but for any other matter.
2. The Court grants the Temporary Conservators the powers pursuant to Probate
Code Section 2590 and the following powers set forth in Probate Code Section 2591:
a. To contract for the conservatorship and perform outstanding contracts and
thereby bind the estate, including asserting or waiving confidentiality
agreements.

b. To operate at the risk of the estate a business constituting an asset of the

estate.

c. To pay, collect, compromise, arbitrate, or otherwise adjust claims, debts, or
demands upon the Conservatorship Estate.

d. To employ attorneys, accountants, investment counsel, agents, depositaries,
and employees and to pay the expenses.

3. The Temporary Conservators have the power to prosecute civil harassment

restraining orders that they deem to be appropriate.
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 16 of 27 Page ID #:348

Geraldine A. Wyle, State Bar No. 089735
Jeryll S. Cohen, State Bar No. 125392
Jeffrey D. Wexler, State Bar No. 132256 FILE

Vivian L. Thoreen, State Bar No, 224162 LOS ANGELES Supt .
LUCE, FORWARD, HAMILTON & SCRIPPS LLP oe) OEPERIOR COURT
601 South Figueroa Street, Suite 3900 FEB 9 6 2008

Los Angeles, California 90017
Telephone No.: 213.892.4992
Fax No.: 213.892.7731

JOHN A. CLARKE, CLERK
otin KH lor (ux a
BY St. WILLIAMS, DEPUTY

Attomeys for James P. Spears,
Temporary Conservator of the Person and
Temporary Co-Conservator of the Estate

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Estate of Case No. BP 108870
BRITNEY JEAN SPEARS, ORDER EXTENDING TEMPORARY
LETTERS OF CONSERVATORSHIP OF
THE ESTATE

Proposed Conservatee.

Date: February 4, 2008

Time: 1:30 p.m.

Dept.: 9

Judge: Hon. Reva Goetz, Judge Pro Tem

The further hearing on the Petition for Appointment of Temporary Conservator of the
Estate of Britney Jean Spears (“Ms. Spears”), filed by James P. Spears, came on regularly for
hearing on February 4, 2008 at 1:30 p.m. in Department 9 of the Los Angeles Superior Court,
Central District, the Honorable Reva Goetz, Judge Pro Tem presiding. Jeryll S. Cohen, Vivian L.
Thoreen, and Jeffrey D. Wexler of Luce, Forward, Hamilton & Scripps LLP appeared on behalf of
Petitioner James P. Spears (‘“‘Mr. Spears”), Temporary Conservator of the Person and Co-
Conservator of the Estate of Ms. Spears. Samuel D. Ingham III appeared as the court-appointed

PVP counsel on behalf of Ms. Spears. Andrew M. Wallet of Hinojosa & Wallet appeared on

1
ORDER EXTENDING TEMPORARY LETTERS OF CONSERVATORSHIP OF THE ESTATE

Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 17 of 27 Page ID #:349

behalf of Andrew M. Wallet as Co-Conservator of the Estate of Ms. Spears. Adam F. Streisand of

Loeb & Loeb LLP appeared purportedly on behalf of Ms. Spears. From proof made to the

satisfaction of the court,

THE COURT FINDS AS FOLLOWS:

1. Notice of time and place of hearing has been given as required by law or dispensed

with,
2. On February 1, 2008, the Court appointed Mr. Spears and Mr. Wallet as Temporary

Co-Conservators of Ms. Spears’ Estate, and Letters of Temporary Conservatorship of the Estate
were issued to Mr. Spears and Mr. Wallet on the same day.

3. On February 1, 2008, the Court appointed PVP counsel Samuel D. Ingham III as

the Conservatee’s court-appointed attorney.

4, It is in the best interest of the Conservatee that the Temporary Conservatorship be

continued over the Conservatee’s Estate.

Mr. Wallet is a suitable and qualified person and is authorized to continue as the

5.
Temporary
{{Co- onservator of Ms. Spears’ Estate.
6. Mr. Spears is a suitable and qualified person and is authorized to continue as the
Temperar

H Co-Conservator of Ms. Spears’ Estate.
7. It is necessary and appropriate that the Letters of Temporary Conservatorship of the

Estate issued to Mr. Spears and Mr. Wallet on February 1, 2008 be extended to February 14, 2008

for further hearing.
8. As a result of the pleadings that have been filed, the declaration by J. Edward Spar,

M.D., and the Report of PVP counsel Mr. Ingham, the court finds that Ms. Spears does not have

the capacity to retain counsel and she lacked the capacity to retain Adam F. Streisand as her

counsel.

9, Ms. Spears has a right to be present at this hearing, and she is not present.
According to Dr. Spar’s declaration, Ms. Spears does not have the ability to attend the hearing.

Mr. Ingham indicated in his Report that Ms, Spears was given an opportunity through him to

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Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 18 of 27 Page ID #:350

communicate to the Court, and she has elected not to. On the basis of Dr. Spar’s declaration and
Mr. Ingham’s Report, the Court should waive Ms. Spears’ presence at the hearing.

10. Mr. Ingham met with Ms. Spears on February 3, 2008.
1. Bond was fixed at $100,000.00 ($50,000.00 for each Co-Conservator), to be

furnished by an authorized Surety company or as otherwise provided by law.

THE COURT ORDERS AS FOLLOWS:

1. Notice of time and place of hearing has been given as required by law or dispensed
with.

2. Ms. Spears does not have the capacity to retain counsel,

3. Ms. Spears lacked the capacity to retain Adam F. Streisand as her counsel.

4. Ms. Spears’ attendance at the hearing is waived.

5. Letters of Temporary Conservatorship of the Estate issued to J ames P. Spears and

Andrew M. Wallet on February 1, 2008 are extended to February 14, 2008.
6. The Temporary Conservators of the Estate are granted the following powers in
addition to the powers provided by law:

a. The Temporary Conservators shall have the power to obtain all documents and
records relating to the Conservatee and her assets, whether held in her name or
in the name of another, including but not limited to, all records currently in the
possession and control of the Conservatee’s business manager, Howard
Grossman, her attorneys, and others, all contracts, information relating to credit
cards, bank statements, estate planning documents, receivables, and any and all
powers of attorney.

b. The Temporary Conservators shall have the power to take all actions necessary
to secure the Conservatee’s assets, including the power to enter and take
possession and control of the Conservatee’s residence, to remove all persons
from the residence and take any and all actions necessary to secure the

residence, including changing the locks, call on law enforcement and employ

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ORDER EXTENDING TEMPORARY LETTERS OF CONSERVATOR SHIP AE TUE ECTaTo

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security guards at the expense of the Conservatorship Estate.

c. The Temporary Conservators shall have the power to take all actions necessary
to secure the Conservatee’s liquid assets, including but not limited to, the power
to cancel all credit cards.

d. The Temporary Conservators shall have the power to revoke all powers of
attorneys, including powers of attorney for making health care decisions and
managing real estate, and to terminate any and all agencies.

¢. The Temporary Conservators shall have the power to commence and maintain
litigation and participate in any litigation with respect to which the Conservatee
is a party or has an interest, and the power to retain counsel and experts, and to
pay same from the Conservatorship Estate, not only as to the family law case
but for any other matter.

7. The Court grants the Temporary Conservators the powers pursuant to Probate Code
Section 2590 and the following powers set forth in Probate Code Section 259]:

a. To contract for the conservatorship and perform outstanding contracts and

thereby bind the estate, including asserting or waiving confidentiality

agreements.

b. To operate at the risk of the estate a business constituting an asset of the estate.
¢. To pay, collect, compromise, arbitrate, or otherwise adjust claims, debts, or
demands upon the Conservatorship Estate.
d. To employ attorneys, accountants, investment counsel, agents, depositaries, and
employees and to pay the expenses,
8. The Temporary Conservators have the power to prosecute civil harassment
restraining orders that they deem to be appropriate.
9. Service on Ms. Spears of pleadings that are to be or are sealed shall be served on
PVP counsel Mr. Ingham. Mr. Ingham shall review and discuss such pleadings with the
Conservatee; however, Mr. Ingham shall retain any and all copies of such pleadings and shall not

leave them with the Conservatee, except that Mr. Ingham may leave a copy of the Order

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ORDER EXTENDING TEMPORARY LETTERS OF CONSERVATORSHIP OF THE ESTATE

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appointing him as the Conservatee’s court-appointed counsel with the Conservatee.

10. The Conservatee shal] not have any contact, direct or indirect, with Osama aka Sam
Lutfi, including telephone calls, text messaging, or email communications.

I]. The Conservatee is to remain in California pending the hearing on the Petition for
Appointment of Permanent Conservator, the written consent of the Conservator of the Person, or
until February 14, 2008 at 1:30 p.m. or further order of the Court.

12. The bond fixed by the Court’s prior Order in the amount of $50,000.00 for each

Co-Conservator is sufficient.

13. The next hearing in this matter is set for February 14, 2008 at 1:30 p.m.

APPROVED AS TO FORM AND CONTENT:

Dated: - 6-08— chip,

“—
Samuel D. Ingham III, Counsel for
Temporary Conservatee Britney Jean Spears

Dated: By:

Andrew M. Wallet, Co-Conservator of the
Estate of Britney Jean Spears

IT IS SO ORDERED.

Dated: Yblor jeurn. Nhe Z?

er

Hon. Reva Goetz, J we Pro Tem
Superior Court, State of California

201013893.5

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ORDER EXTENDING TEMPORARY LETTERS OF CONSERVATORSHIP OF THE FSTATE

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EXHIBIT B
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 22 of 27 Page ID #:354

Wexler, Jeffrey

From: Wexler, Jeffrey

Sent: Wednesday, February 06, 2008 1:09 PM

To: ‘Howard Grossman’

Ce: Wyle, Geraldine; Cohen, Jeryll; Thoreen, Vivian; 'todd@tbrcars.com'

Subject: Britney's cars

Howard--

Todd Rosenthal will be sending someone to Mercedes-Benz of Beverly Hills
later today or tomorrow to pick up the two cars. Please let Cameron/Kamran know that TBR

Cars is authorized to pick up those cars.

Todd has asked me to ask you to provide him with VIN and other information concerning each
of the cars that Britney owns. Please e-mail him that information at todd@étbrcars.com.

Thanks again for all of your help.

Jeff
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EXHIBIT C
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 24 of 27 Page ID #:356

Wexler, Jeffrey

From: Howard Grossman [Howard@glwg.com]

Sent: Wednesday, February 06, 2008 1:38 PM

To: Wexler, Jeffrey

Ce: Wyle, Geraldine; Cohen, Jeryll; Thoreen, Vivian; todd@tbrcars.com; katlin@glwg.com
Subject: RE: Britney's cars

Kate, please authorize Cameron, also, please provide car and vin numbers. Thank you.

From: Wexler, Jeffrey [mailto:JWexler@LUCE.com]
sent: Wed 2/6/2008 1:08 PM

To: Howard Grossman
Cc: Wyle, Geraldine; Cohen, Jeryll; Thoreen, Vivian; 'todd@tbrcars.com'

Subject: Britney's cars

Howard--

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later today or tomorrow to pick up the two cars. Please let Cameron/Kamran know that TBR

Cars is authorized to pick up those cars.

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of the cars that Britney owns. Please e-mail him that information at todd@tbrears.com.

Thanks again for all of your help.

Jeff

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attachments and notify us immediately. Thank you.
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EXHIBIT D
Case 2:08-cv-01021-PSG-RC Document 9-47 Filed 02/19/08 Page 26 of 27 Page ID #:358

Wexler, Jeffrey

From: Katlin Erbland [Katlin@glwg.com]

Sent: Wednesday, February 06, 2008 1:48 PM

To: Howard Grossman; Wexler, Jeffrey

Cc: Wyle, Geraldine; Cohen, Jeryll; Thoreen, Vivian; todd@tbrcars.com; katlin@glwg.com
Subject: RE: Britney's cars

Have left message for Cameron explicitly authorizing Todd and TBR to pick up all cars. Am
forwarding all info to Todd now.

Kate Erbland

Assistant to Howard Grossman

glwg

*Please note our new address, as of December 17* 10880 Wilshire Blvd., Ste. 1725 Los
Angeles, CA 90024

310-473-2266 Main

310-954-1060 Fax

310-954~1071 Direct

katlin@glwg.com

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practice, we inform you that any advice contained herein (including in any attachments}
(1) was not written and is not intended to be used, for the purpose of avoiding any
federal tax penalty that may be imposed on the taxpayer, and (2) may not be used in
connection with promoting, marketing or recommending to another person any transaction or

matter addressed herein.

~a+- Original Message----+-
From: Howard Grossman
Sent: Wed 2/6/2008 1:37 PM

To: Wexler, Jeffrey
Ce: Wyle, Geraldine; Cohen, Jeryll; Thoreen, Vivian; *todd@tbrcears.com'; katlin@glwg.com

Subject: RE: Britney's cars

Kate, please authorize Cameron, also, please provide car and vin numbers. Thank you.

From: Wexler, Jeffrey (mailto: JWexler@LUCE. com]

Sent: Wed 2/6/2008 1:08 PM

To: Howard Grossman

Cc: Wyle, Geraldine; Cohen, Jeryll; Thoreen, Vivian; 'todd@tbrcears.com'

Subject: Britney's cars

Howard--
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Cars is authorized to pick up those cars.

Todd has asked me to ask you to provide him with VIN and cther information concerning each
of the cars that Britney owns. Please e-mail him that information at todd@tbrcears.com.

Thanks again for all of your help.

Jeff
‘

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